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             IN THE UNITED STATES DISTRICT COURT
            FOR THE NORTHERN DISTRICT OF GEORGIA
                       ATLANTA DIVISION

AUTO-OWNERS INSURANCE
COMPANY,

                    Plaintiff,             Case No. _______________

v.

G&D CONSTRUCTION GROUP,
INC. and METCON, INC.

                    Defendants


            COMPLAINT FOR DECLARATORY JUDGMENT

      Plaintiff, Auto-Owners Insurance Company (“Auto-Owners”), files this

Complaint for Declaratory Judgment and shows the Court as follows:

                                 Nature of Action

      1.     This case is an action for declaratory judgment under Rule 57 of

the Federal Rules of Civil Procedure and 28 U.S.C. § 2201 to declare the rights

and other legal relations surrounding questions of actual controversy that

presently exist between Auto-Owners and the Defendants, i.e., that Auto-

Owners owes no insurance coverage obligations, including without limitation

the obligations to defend or indemnify, to G&D Construction Group, Inc.
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(“G&D”), and no obligations to Metcon, Inc., in connection with the claims

asserted by it in the lawsuit styled Metcon, Inc. v. G&D Construction Group,

Inc., in the Superior Court of Gwinnett County, State of Georgia, Civil Action

No. 21-A-00102-3 (“Underlying Lawsuit”).

                                    Parties

      2.    Auto-Owners is a Michigan corporation with its principal place of

business in Lansing, Michigan.

      3.    Defendant G&D is a Georgia corporation with a principal place of

business located in Lawrenceville, Gwinnett County, Georgia. G&D may be

served through its registered agent, George Puha, at 1582 Azalea Dr.,

Lawrenceville, GA 30043.

      4.    Defendant Metcon is a North Carolina corporation with a principal

place of business located in Tucker, Fulton County, Georgia. Metcon may be

served through its registered agent, Glenn C. Stanford, 305 Buckhead Avenue,

NE, Atlanta, GA 30305.

                            Jurisdiction and Venue

      5.    This declaratory judgment action involves Auto-Owners’ rights

and duties pursuant to an insurance policy issued to G&D made in Gwinnett

County, Georgia.


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        6.       This action involves Auto-Owners’ rights and duties with respect

to an insurance policy issued in this District, regarding a party domiciled in this

district, and involving a lawsuit filed in a State of Georgia court located within

this District.

        7.       Venue is proper in this District pursuant to 28 U.S.C. § 1391,

because one of the parties is located in this District, the insurance policy was

issued in this district, and a substantial part of the events giving rise to Auto-

Owner’s declaratory judgment claim took place and are currently taking place

in this District.

        8.       D&G is subject to personal jurisdiction and venue in this Court.

        9.       Metcon is subject to personal jurisdiction and venue in this Court

as it entered into contracts in Georgia related to this dispute and submitted itself

to Georgia jurisdiction by filing the Underlying Lawsuit in this District.

        10.      The Court has jurisdiction over this action pursuant to 28 U.S.C. §

1332.

        11.      Plaintiff is a citizen of a different state than all Defendants.

        12.      The amount in controversy, exclusive of interest and costs, exceeds

$75,000.




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      13.    This Court also has jurisdiction pursuant to 28 U.S.C. § 2201, in

that Auto-Owners is seeking a declaration from this Court regarding the parties’

rights and obligations with respect potential coverage under an insurance policy

issued by Auto-Owners.

             The Facts Giving Rise to Metcon’s Claim against G&D

      14.    NP 301, LLC (“NP 301”), a Georgia limited liability company

with a principal place of business in Atlanta, Georgia, hired Metcon to act as

general contractor for the construction of a Spring Hill Suites Hotel in

Lumberton, North Carolina (the “project”).

      15.    The general contractor contract between Metcon and NP 301 was

dated December 27, 2013.

      16.    Metcon hired G&D to perform certain exterior insulation finishing

system (“EIFS”) construction work.

      17.    On May 28, 2020, NP 301 brought suit against Metcon in the

Superior Court of Fulton County, civil action no. 2020CV336620 (“NP 301

Lawsuit”).

      18.    A true and exact copy of the NP 301 Lawsuit Complaint (without

exhibits) is attached hereto and labeled Exhibit 1.




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         19.   In the NP 301 Lawsuit Complaint, NP 301 alleges that at some

unspecified time prior to September 11, 2016, water intrusion was observed at

various locations within the hotel. (Complaint For Damages And Breach of

Contract, Ex. 1, ¶ 8.)

         20.   As a result of the water intrusion, NP 301 alleges that Metcon

attempted to remedy the issues, and then obtained a “Maintenance Bond”

(“Bond”) to resolve any construction defects, with a three-year period from

September 11, 2016. (Complaint For Damages And Breach of Contract, Ex. 1,

¶ 9.)

         21.   After the project was completed on or about September 11, 2016,

NP 301 alleged that, among other things, the EIFS was improperly installed on

the project, resulting in water intrusion to the building. (Complaint For

Damages And Breach of Contract, Ex. 1, ¶ 10.)

         22.   NP 301 Lawsuit Complaint alleges that the water intrusion issues

arise out of a problem with the exterior EIFS. (Complaint For Damages And

Breach of Contract, Ex. 1, ¶ 10.)

         23.   NP 301 has made demand for payment to Metcon and the sureties.

(Complaint For Damages And Breach of Contract, Ex. 1, ¶11.)




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        24.   NP 301 made claims for breach of contract against Metcon related

to the construction work in the NP 301 Lawsuit. (Complaint For Damages And

Breach of Contract, Ex. 1, Count One.)

        25.   NP 301 has alleged $2,204,725.68 in property damage and

remediation, plus claims for lost income and litigation expenses, in the NP 301

Lawsuit Complaint. (Complaint For Damages And Breach of Contract, Ex. 1, ¶

21.)

        26.   The NP 301 Lawsuit has been stayed and submitted to arbitration.

        27.   Metcon contends that it has made demands upon G&D to submit to

arbitration, but G&D has not responded.

                   The Underlying Lawsuit by Metcon v. G&D

        28.   Metcon filed the Underlying Lawsuit in Gwinnett County, Georgia

on January 7, 2021.

        29.   A true and accurate copy of the Underlying Lawsuit Complaint is

attached hereto as Exhibit 2.

        30.   Metcon contends that G&D contracted with Metcon to perform

EIFS work on the project. (Complaint, Ex. 2, ¶ 8.)




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      31.    Metcon contends that the after the project was completed, NP 301

alleged that EIFS was improperly installed on the project, resulting in water

intrusion to the building. (Complaint, Ex. 2, ¶¶ 10-11.)

      32.    Metcon contends that NP 301 also alleges that water intrusion

caused damages to portions of the project that were outside of the scope of

Defendant G&D’s work, such as sheathing, framing, drywall, and other

building components. (Complaint, Ex. 2, ¶ 11.)

      33.    Metcon asserts claims against G&D for breach of written contract,

including but not necessarily limited to the following alleged breaches:

      (a) if NP 301’s claims are valid, then G&D breached the construction

      contract by providing inadequate construction work;

      (b) G&D failure to participate in arbitration is a breach of the arbitration

      provision of the contract;

      (c) G&D breached the obligation to maintain specified liability insurance

      and name Metcon as an additional insured; and

      (d) failing to defend and indemnify Metcon in the NP 301 Lawsuit.

(Complaint, Ex. 2, Count One, ¶¶ 14-28.)




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        34.   Metcon asserts a claim against G&D for breach of warranties

concerning the EIFS work performed on the project. (Complaint, Ex. 2, Count

Two, ¶¶ 30-32.)

        35.   Metcon asserts a claim for negligence against G&D concerning the

EIFS work performed on the project. (Complaint, Ex. 2, Count Three, ¶¶ 34-

39.)

        36.   Metcon asserts a claim for common law and contractual indemnity

against G&D that seeks a defense and indemnity relating to the NP 301

Lawsuit. (Complaint, Ex. 2, Count Four ¶¶ 41-44.)

        37.   Metcon asserts a claim for breach of implied contract against G&D

concerning the EIFS work performed on the project. (Complaint, Ex. 2, Count

Five ¶¶ 46-52.)

        38.   The Underlying Lawsuit Complaint seeks actual damages,

litigation expenses, and an order to send Metcon to arbitration related to the NP

301 Lawsuit, among other remedies. (Complaint, Ex. 2, Prayer for Relief, pp.

11-12.)

        39.   G&D did not provide notice to Auto-Owners of the Underlying

Lawsuit.




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      40.   Auto-Owners received notice of the Underlying Lawsuit from

counsel for Metcon.

      41.   Auto-Owners fully reserved it rights under the CGL policies in

writing via correspondence dated February 11, 2021.

      42.   A copy of the February 11, 2021 reservation of rights letter for the

CGL Policies is attached hereto as Exhibit 3.

      43.   In the CGL reservation of rights letter, Auto-Owners agreed to

defend and is defending G&D in the Underlying Lawsuit.

      44.   Auto-Owners fully reserved its rights under its Umbrella Policy in

writing via correspondence dated February 12, 2021.

      45.   A copy of the February 12, 2021 reservation of rights letter for the

Umbrella Policy is attached hereto as Exhibit 4.

                          The Auto-Owners’ Policies

      46.   Auto-Owners issued a Commercial General Liability Coverage

policy, policy number 102318-48518416-13, to G&D Construction Group, Inc.

for the effective date period of 08/16/2013 to 08/16/2014 (“13-14 CGL

Policy”). The 13-14 CGL Policy had policy limits of $1,000,000 per occurrence

and $2,000,000 general aggregate.




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      47.       A true and accurate copy of the 13-14 CGL Policy is attached

hereto as Exhibit 5.

      48.       The 13-14 CGL Policy was renewed, with policy number 102318-

80518416-14, for the effective date beginning 08/16/14, but that policy was

cancelled effective 12/16/2014 (“14 CGL Policy”). The 14 CGL Policy had

policy limits of $1,000,000 per occurrence and $2,000,000 general aggregate.

      49.       A true and accurate copy of the 14 CGL Policy is attached hereto

as Exhibit 6.

      50.       The relevant provisions of the 13-14 CGL Policy and the 14 CGL

Policy were identical for purposes of this action. Thus, when provisions of these

two polices are referenced, they will be collectively referred to as the “CGL

Policies.”

      51.       Auto-Owners issued a Commercial Umbrella Liability Coverage

policy, policy number 102318-48518416-13, to G&D Construction Group, Inc.

for the effective date period of 08/16/2013 to the Policy’s cancellation date of

08/16/2014 (“Umbrella Policy”).

      52.       A true and accurate copy of the Umbrella Policy is attached hereto

as Exhibit 7.




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         53.       Although Auto-Owners was prepared to renew the Umbrella

Policy, the renewed Umbrella Policy was cancelled from inception and voided

ab initio due to non-payment by G&D.

         54.       The insuring agreement of the CGL Policies stated, in relevant

part:

                           SECTION I – COVERAGES

         COVERAGE A. BODILY INJURY AND PROPERTY DAMAGE LIABILITY

         1. Insuring Agreement

               a. We will pay those sums that the insured becomes legally obligated to pay as
                  damages because of “bodily injury” or “property damage” to which this
                  insurance applies. We will have the right and duty to defend any “suit” seeking
                  those damages. We may at our discretion investigate any claim or
                  “occurrence” and settle any claim or “suit” that may result. But:

                   (1) The amount we will pay for damages is limited as described in Section III
                       – Limits of Insurance; and

                   (2) Our right and duty to defend end when we have used up the applicable
                       limit of insurance in the payment of judgments or settlements under
                       Coverage A or B or medical expenses under Coverage C.

                   No other obligation or liability to pay sums or perform acts or services is
                   covered unless explicitly provided for under Supplementary Payments –
                   Coverages A and B .

               b. This insurance applies to “bodily injury” and “property damage” only if:

                   (1) The “bodily injury” or “property damage” is caused by an “occurrence”
                       that takes place in the “coverage territory;

                   (2) The “bodily injury” or “property damage” occurs during the policy period;
                       and

                   (3) Prior to the policy period, no insured listed under Paragraph 1. of Section
                       II – Who Is An Insured and no “employee” authorized by you to give or
                       receive notice of an “occurrence” or claim, knew that the “bodily injury”
                       or “property damage" had occurred, in whole or in part. If such a listed



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               insured or authorized “employee” knew, prior to the policy period, that the
               “bodily injury” or “property damage” occurred, then any continuation,
               change or resumption of such “bodily injury” or “property damage” during
               or after the policy period will be deemed to have been known prior to the
               policy period.

       c. “Bodily injury” or “property damage” will be deemed to have been known to
          have occurred at the earliest time when any insured listed under Paragraph 1.
          of Section II – Who Is An Insured or any “employee” authorized by you to
          give or receive notice of an “occurrence” or claim:

           (1) Reports all, or any part, of the “bodily injury” or “property damage” to us
               or any other insurer;

           (2) Receives a written or verbal demand or claim for damages because of the
               “bodily injury” or “property damage”; or

           (3) Becomes aware by any other means that “bodily injury” or “property
               damage” has occurred or has begun to occur.

       d. Damages because of “bodily injury” include damages claimed by any person
          or organization for care, loss of services or death resulting at any time from
          the “bodily injury”.

                                           * * *
 ...

 55.       The CGL Policies included the following Coverage A exclusions:

 2. Exclusions

       This insurance does not apply to:

                                           * * *

       b. Contractual Liability

           “Bodily injury” or “property damage” for which the insured is obligated to pay
           damages by reason of the assumption of liability in a contract or agreement.
           This exclusion does not apply to liability for damages:

           (1) Assumed in a contract or agreement that is an “insured contract”, provided
               the “bodily injury” or “property damage” occurs subsequent to the
               execution of the contract or agreement. However, if the insurance under
               this policy does not apply to the liability of the insured, it also does not
               apply to such liability assumed by the insured under an “insured contract”.




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            (2) That the insured would have in the absence of the contract or agreement.

                                           * * *

       j.   Damage to Property

            “Property damage” to:

                                           * * *

                (7) That particular part of any property that must be restored, repaired or
                    replaced because “your work” was incorrectly performed on it.

                                           * * *

                Paragraph (7) of this exclusion does not apply to “property damage”
                included in the “products-completed operations hazard”.

                                       * * *

       l.   Damage To Your Work

            “Property damage” to “your work” arising out of it or any part of it and
            included in the “products-completed operations hazard”.

       m. Damage To Impaired Property Or Property Not Physically Injured

            “Property damage” to “impaired property” or property that has not been
            physically injured, arising out of:

            (1) A defect, deficiency, inadequacy or dangerous condition in “your product”
                or “your work”; or

            (2) A delay or failure by you or anyone acting on your behalf to perform a
                contract or agreement in accordance with its terms.

            This exclusion does not apply to the loss of use of other property arising out
            of sudden and accidental physical injury to “your product” or “your work”
            after it has been put to its intended use.

                                           * * *


 56.        The CGL Policies contained the following conditions:
 SECTION IV – COMMERCIAL GENERAL LIABILITY CONDITIONS

                                           * * *


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 2. Duties In The Event of Occurrence, Offense, Claim Or Suit

    a. You must see to it that we are notified as soon as practicable of an “occurrence”
       or an offense which may result in a claim. To the extent possible, notice should
       include:

        (1) How, when and where the “occurrence” or offense took place;

        (2) The names and addresses of any injured persons and witnesses; and

        (3) The nature and location of any injury or damage arising out of the
            “occurrence” or offense.

    b. If any claim is made or “suit” is brought against any insured, you must:

        (1) Immediately record the specifics of any claim or “suit” and the date
            received; and

        (2) Notify us as soon as practicable.

        You must see to it that we receive written notice of any claim or “suit” as soon
        as practicable.

    c. You and any other involved insured must:

        (1) Immediately send us copies of any correspondence, demands, notices,
            summonses or papers in connection with any claim or “suit”;

        (2) Authorize us to obtain records and other information;

        (3) Cooperate with us in the investigation or settlement of any claim or
            defense of any “suit”; and

        (4) Assist us, upon our request, in the enforcement of any right against any
            person or organization which may be liable to the insured because of injury
            or damage to which this insurance may also apply.

 [BY ENDORSEMENT]




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       Paragraphs a. and b. of this condition will not serve to deny any claim for failure
       to provide us with notice as soon as practicable after an “occurrence” or an offense
       which may result in a claim:

       a. If the notice of a new claim is given to your “employee”; and

       b. That “employee” fails to provide us with notice as soon as practicable.

       This exception shall not apply:

       a. To you; or

       b. To any officer, director, partner, risk manager or insurance manager of yours.
                                      * * *


 57.       The CGL Policies included the following definitions:

 SECTION V – DEFINITIONS

                                         * * *

 9. “Impaired property” means tangible property, other than “your product” or “your
                 work”, that cannot be used or is less useful because:

       a. It incorporates “your product” or “your work” that is known or thought to be
                         defective, deficient, inadequate or dangerous; or

               b. You have failed to fulfill the terms of a contract or agreement

       if such property can be restored to use by:

        a. The repair, replacement, adjustment or removal of “your product” or “your
                                           work”; or

                   b. Your fulfilling the terms of the contract or agreement.

                                           * * *

 14. “Occurrence” means an accident, including continuous or repeated exposure to
     substantially the same general harmful conditions.

                                           * * *

 17. “Products-completed operations hazard”:




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    a. Includes all “bodily injury” and “property damage” occurring away from
       premises you
       own or rent and arising out of “your product” or “your work” except:

        (1) Products that are still in your physical possession; or

        (2) Work that has not yet been completed or abandoned. However, “your
            work” will be deemed completed at the earliest of the following times:

                (a) When all of the work called for in your contract has been
                    completed.

                (b) When all of the work to be done at the job site has been completed
                    if your contract calls for work at more than one job site.

                (c) When that part of the work done at a job site has been put to its
                    intended use by any person or organization other than another
                    contractor or subcontractor working on the same project.

        Work that may need service, maintenance, correction, repair or replacement,
        but which is otherwise complete, will be treated as completed.

    b. Does not include “bodily injury” or “property damage” arising out of:

        (1) The transportation of property, unless the injury or damage arises out of a
            condition in or on a vehicle not owned or operated by you, and that
            condition was created by the “loading or unloading” of that vehicle by any
            insured;

        (2) The existence of tools, uninstalled equipment or abandoned or unused
            materials; or

        (3) Products or operations for which the classification, shown in the
            Declarations, states that products-completed operations are included.

 18. “Property damage” means:

    a. Physical injury to tangible property, including all resulting loss of use of that
       property. All such loss of use shall be deemed to occur at the time of the
       physical injury that caused it; or

    b. Loss of use of tangible property that is not physically injured. All such loss
       shall be deemed to occur at the time of the “occurrence” that caused it.

                                        * * *

 27. “Your work”:



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       a. Means:

               (1) Work or operations performed by you or on your behalf; and

               (2) Materials, parts or equipment furnished in connection with such work
                   or operations.

       b. Includes:

           (1) Warranties or representations made at any time with respect to the fitness,
               quality, durability, performance or use of “your work”; and

           (2) The providing of or failure to provide warnings or instructions.

                                           * * *

 58.       The CGL Policies contained the following endorsement:

 [By Endorsement]

    GEORGIA EXTERIOR FINISHING SYSTEM EXCLUSION – FORM A

 This endorsement modifies insurance provided under the following:

           COMMERCIAL GENERAL LIABILITY COVERAGE PART

 A. Under SECTION I – COVERAGES, COVERAGE A. BODILY INJURY
    AND PROPERTY DAMAGE LIABILITY, 2. Exclusions and COVERAGE
    B. PERSONAL INJURY AND ADVERTISING INJURY LIABILITY, 2.
    Exclusions, the following exclusion is added:

       Exterior Finishing System

       This insurance does not apply to any claim, “suit”, action or proceeding for “bodily
       injury”, “property damage”, “personal injury” or “advertising injury” which is in
       any way related to or arising out of any “exterior finishing system” application.

       This exclusion does not apply to any claim, “suit”, action or proceeding for “bodily
       injury” which occurred before completion of “your work”.

       “Your work” is deemed completed:

           1. When all of the work called for in your contract has been completed.

           2. When all of the work to be done at the site has been completed if your
              contract calls for work at more than one site.




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           3. When that part of the work done at a job site has been put to its intended
              use by any person or organization other than another contractor or
              subcontractor working on the same project.

       Work that may need service, maintenance, correction, repair or replacement, but
       which is otherwise complete, will be treated as completed.

 B. The following definitions are added to SECTION V – DEFINITIONS:

       “Exterior finishing system”, is an exterior insulating and finishing system applied to the
       exterior of a structure which incorporates any synthetic stucco or material similar in
       substance or purpose, and which may also include: insulating board or other material;
       adhesive or mechanical fasteners; and the application of flashings, coatings, caulking or
       sealants.

 59.       The CGL Policies include the following terms:
 SECTION II – WHO IS AN INSURED

 1.        If you are designated in the Declarations as:
           a. An individual, you and your spouse are insureds, but only with respect to
                the conduct of a business of which you are the sole owner.
           b. A partnership or joint venture, you are an insured. Your members, your
                partners, and their spouses are also insureds, but only with respect to the
                conduct of your business.
           c. A limited liability company, you are an insured. Your members are also
                insureds, but only with respect to the conduct of your business. Your
                managers are insureds, but only with respect to their duties as your
                managers.
           d. An organization other than a partnership, joint venture or limited liability
                company, you are an insured. Your “executive officers” and directors are
                insureds, but only with respect to their duties as your officers or directors.
                Your stockholders are also insureds, but only with respect to their liability
                as stockholders.
           e. A trust, you are an insured. Your trustees are also insureds, but only with
                respect to their duties as trustees.

 60.       The CGL Policies includes the following endorsement:
 GEORGIA LIMITED FUNGI OR BACTERIA COVERAGE

 This Endorsement modifies insurance provided under the following:

 Fungi and Bacteria Property Damage Aggregate Limit: $50,000

 A. The following additional exclusions is added to SECTION I – COVERAGES,
    COVERAGE A. BODILY INJURY AND PROPERTY DAAMGE LIABILITY 2.
    Exclusions:



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       “Bodily injury” arising out of:

       a. A “fungi or bacteria incident”; or
       b. Any loss, cost or expense arising out of the abating, testing for, monitoring,
          cleaning up, removing, containing, treating, detoxifying, neutralizing,
          remediating, or disposing of, or in any way responding to, or assessing the
          effects of, “fungi” or bacteria, by any insured or by any other person or entity.

    This exclusion does not apply to any “fungi” or bacteria that are, are on, or are
    contained in, a good or product intended for consumption.
                                *        *       *
 C. Coverage provided by this insurance for “property damage” arising out of a “fungi
    or bacteria incident” is subject to the Fungi and Bacteria Property damage
    Aggregate Limit as described in Paragraph D. of this endorsement.

 D. The following are added to SECTION III – LIMITS OF INSURANCE
    1. Subject to Paragraphs 2 and 3 of Section III – Limits of Insurance, as
       applicable, the Fungi and Bacteria Property Damage Aggregate Limit shown
       in the Schedule of this endorsement is the most we will pay under Cvoerage
       A for all “property damage” arising out of one or more “fungi or bacteria
       incident.”

 E. The following additional definitions are added to SECTION V – DEFINITIONS

       “Fungi” means any type or form of fungus, including but not limited to mold, mildew,
       mycotoxins, spores, scents or byproducts produced or released by any type or
       form of fungus.

       “Fungi or bacteria incident” means an incident which would not have occurred, in
       whole or in part, but for the actual, alleged or threatened inhalation of , ingestion
       of, contact with, exposure to, existence of, or presence of, any “fungi” or bacteria,
       on or within a building or structure, including its contents, regardless of whether
       any other cause, event, material or product contributed concurrently or in any
       sequence to such damage.



 61.       The Umbrella Policy contained the following insuring agreement:

 COVERAGE

 A. We will pay those sums included in ultimate net loss that the insured becomes
    legally obligated to pay as damages because of:

       1. Bodily injury;

       2. Property damage;

       3. Personal inury; or

       4. Advertising injury


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       to which this insurance applies caused by an incident.

 B. If the basis of coverage for an incident is:

       1. An occurrence:

               a. The bodily injury and property damage must take place during the
                  policy term[.]

                                               * * *

 62.       The Umbrella Policy contained the following definitions:

 DEFINITIONS

 To understand this policy, you must understand what we mean when we use these
 words and phrases. They appear in bold-faced print in this section and wherever
 used in the policy.

                                           * * *

 H. Impaired property means tangible property, other than your product or your
    work, that cannot be used or is less useful because:

           1. It incorporates your product or your work that is known or thought to
              be defective, deficient, inadequate or dangerous: or

           2. You have failed to fulfill the terms of a contract or agreement

       if such property can be restored to use by:

       1. The repair. replacement. adjustment or removal of your product or your
          work; or

       2. Your fulfilling the terms of the contract or agreement.


 I.    Incident means either an occurrence or an offense, whichever is the basis of
       coverage, then:

       1. When coverage applies on an occurrence basis, incident means an accident
          with respect to:

                                           * * *

           b. property damage



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        including continuous or repeated exposure to substantially the same general
        harmful conditions. Continuous or repeated exposure to substantially the
        same general harmful conditions constitutes one incident.

                                        * * *

 K. Insured Contract

    1. Insured contract means:

                                        * * *

        h. That part of any other contract or agreement pertaining to your business
           (including indemnification of a municipality in connection with work
           performed for a municipality) under which you assume the tort liability
           of another to pay damages because of bodily injury or property
           damage to a third person or organization.

                                        * * *

 O. Products-completed operations hazard includes all bodily injury and
    property damage occurring away from premises you own or rent and arising out
    of your product or your work except:

    1. Products that are still in your physical possession; or

    2. Work that has not yet been completed or abandoned. However, your work
       will be deemed completed at the earliest of the following times:

        a. When all of the work called for in your contract has been completed.

        b. When all of the work to be done at the job site has been completed, if
           your contract calls for work at more than one job site.

        c. When that part of the work done at a job site has been put to its intended
           use by any person or organization other than another contractor or
           subcontractor working on the same project.

        Work that may need service, maintenance, correction, repair or replacement,
        but which is otherwise complete, will be treated as completed.

                                        * * *

 P. Property damage means:

    1. Physical injury to tangible property, including all resulting loss of use of that
       property. All such loss shall be deemed to occur at the time of the physical


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           injury that caused the loss of use.

       2. Loss of use of tangible property that is not physically injured. All such loss
          of use shall be deemed to occur at the time of the incident that caused the
          loss of use.

                                           * * *

 V. Tort liability means a liability that would be imposed by law in the absence of
    any contract or agreement.

                                           * * *

 Y. Ultimate net loss means the sum actually payable by us to procure settlement or
    satisfaction of the insured's legal obligation for damages either by:

       1. Final adjudication; or

       2. Compromise with our written consent.

       However, ultimate net loss shall not include salaries of the insured's employees
       or those of an underlying insurer or expenses incurred by the insured,
       underlying insurer or us in investigation, adjustment or litigation.

                                           * * *

 FF. Your work means:

       1. Work or operations performed by you or on your behalf; and

       2. Materials, parts or equipment furnished in connection with such work or
          operations.

       Your work includes warranties or representations made at any time with respect
       to the fitness, quality, durability, performance or use of any of the items included
       in 1. or 2. immediately above.

       Your work also includes the providing of or failure to provide warnings or
       instructions relative to any of the items included in 1. or 2. immediately above.

                                           * * *

 63.       The Umbrella Policy contained the following conditions:

 CONDITIONS

 This policy is subject to the following conditions:



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                                        * * *

 F. Legal Action Against Us

    We may not be sued unless:

    1. There is full compliance with all the terms of this policy: and

    2. Until the obligation of an insured to pay is finally determined either by:

        a. Judgment against the insured after actual trial: or

        b. By written agreement of the insured, the claimant and us.

    No one shall have any right to make us a party to a suit to determine the liability
    of an insured.

                                        * * *

 H. Notice of Incident, Claim or Suit

    1. When an incident likely to involve us takes place, the insured must notify
       us in writing as soon as practicable, of any incident, claim or suit. Notice of
       an incident is not notice of a claim.

        The notice must give:

        a. Your name and policy number;

        b. The time, place and circumstances of the incident; and

        c. The names and addresses of injured persons and witnesses.

        The insured shall promptly take at his or her expense all reasonable steps to
        prevent other bodily injury, property damage, personal injury or
        advertising injury from arising out of the same or similar conditions, but
        such expense shall not be recoverable under this policy.

    2. If claim is made or suit is brought, we must be advised promptly. All papers
       in connection with claims or suits must be sent to us without delay.

    3. The insured must:

        a. Immediately send us copies of any correspondence, demands, notices,
           summonses or papers in connection with any claim or suit;

        b. Authorize us to obtain records and other information;


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           c. Cooperate with us in the investigation or settlement of any claim or
              defense of any suit; and

           d. Assist us, upon our request. in the enforcement of any right against any
              person or organization which may be liable to the insured because of
              injury or damage to which this insurance may also apply.

 The insured must attend hearings and trials and assist in securing and giving evidence and
 the obtaining and attendance of witnesses. The insured must not. except at the insured's own
 cost, voluntarily make any payment, assume any obligation or incur any expense.

 64.       The Umbrella Policy contained the following exclusions:

 EXCLUSIONS

 This policy does not apply to:

                                          * * *

 B. Damages claimed for any loss, cost or expense incurred by you or others for the
    loss of use, withdrawal, recall, inspection, repair, replacement, adjustment,
    removal or disposal of:

       1. Your product;

       2. Your work; or

       3. Impaired property

       if such product, work or property is withdrawn or recalled from the market or
       from use by any person or organization because of a known or suspected defect,
       deficiency, inadequacy or dangerous condition in it.

                                          * * *

 Q. Bodily injury or property damage for which the insured is obligated to pay
    damages by reason of the assumption of liability in a contract or agreement. This
    exclusion does not apply to liability for damages:

       1. Assumed in a contract or agreement that is an insured contract, provided
          such bodily injury or property damage occurs subsequent to the execution
          of the contract or agreement. However, if the insurance under this policy
          does not apply to the liability of the insured, it also does not apply to such
          liability assumed by the insured under an insured contract; or

       2. That the insured would have in the absence of the contract or agreement.



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                                          * * *

 Y. Property damage to:

                                          * * *

       6. That particular part of real property on which any insured or any contractor
          or subcontractor working directly or indirectly on your behalf are performing
          operations, if property damage arises out of those operations; or

       7. That particular part of any property that must be restored, repaired or
          replaced because your work was incorrectly performed on it.

           This exclusion does not apply with respect to:

                                          * * *

           c. Y.7. to property damage included in the products-completed
              operations hazard.

                                          * * *

 AA.    Property damage to your work arising out of it or any part of it and
    included in the products-completed operations hazard.

 BB.       Property damage to impaired property or property that has not been
       physically injured, arising out of:

       1. A defect, deficiency, inadequacy or dangerous condition in your product or
          your work;

       2. A delay or failure by you or anyone acting on your behalf to perform a
          contract or agreement in accordance with its terms.

       This exclusion does not apply to the loss of use of other property arising out of
       sudden and accidental physical injury to your product or your work after it has
       been put to its intended use.

                                          * * *




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 65.      The Umbrella Policy contained the following endorsement:

                          CONTRACTOR’S EXCLUSION
                           Commercial Umbrella Policy

 It is agreed:

                                        * * *

 B. The following exclusions are added to the EXCLUSIONS section of the policy:

       1. Bodily injury, property damage or personal injury assumed by the
          insured under an insured contract.…

                                        * * *

       3. Bodily injury or property damage arising out of the products-completed
          operations hazard.…

                                        * * *



 66.      The Umbrella Policy contained the following endorsement:



 67.      The Umbrella Policy contained the following endorsement:

 PERSONS AND ORGANIZATIONS INSURED

 Each of the following is an insured under this policy to the extent described below:

 * * *

 H. Any person, organization, trustee or estate with respect to which you are
    obligated by virtue of a written contract to provide insurance such as is afforded
    by this policy, but only with respect to operations by or on behalf of, or to
    facilities of or used by, you.




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      68.       The Umbrella Policy contained the following endorsement:

                            EXCLUSION OF FUNGI OR BACTERIA
                                Commercial Umbrella Policy

      It is agreed:

      A. The following definition is added to the DEFINITIONS section of the policy:

            Fungi means any form or type of fungus, including, but not limited to, any
            mildew, mold, spores, mycotoxins, scents or byproducts released or produced by
            any type or form of fungus.

      B. The following exclusions are added to the EXCLUSIONS section of the policy:

            1. Bodily injury, property damage, personal injury or advertising injury
               arising out of, in part or in whole, the actual, threatened or alleged ingestion
               of, inhalation of. exposure to, contact with, presence of. or existence of, any
               fungi or bacteria, whether airborne or not, within or on a structure or
               building, including its contents. This exclusion applies whether any other
               event, cause, product or material contributed in any sequence or concurrently
               to such damage or injury. This exclusion shall not apply to any fungi or
               bacteria that are contained in. or are on, a product or good intended for
               human consumption.

            2. Any loss, expenses or cost arising out of the monitoring, testing for, abating,
               removing, cleaning up, containing, neutralizing, detoxifying, treating,
               disposing of or remediating, or in any way assessing the effects of, or
               responding to, fungi or bacteria, by any insured or by any other entity,
               person or governmental authority. This exclusion shall not apply to any fungi
               or bacteria that are contained in, or are on, a product or good intended for
               human consumption.

      All other policy terms and conditions apply.

                                               * * *

                           DECLARATORY JUDGMENT
                          AUTO-OWNERS HAS NO DUTY
                         TO DEFEND OR INDEMNIFY G&D

      69.       The Auto-Owners Policies do not cover any of the claims made or

damages, related to the events alleged in the Underlying Complaint, because the



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allegations of the Underlying Complaints do not allege occurrences as required

for Coverage A as the property damage alleged did not occur during the policy

periods of the CGL and Umbrella Policies.

      70.   The Auto-Owners Policies do not cover any of the claims made or

damages related to the events alleged in the Underlying Complaint because G&D

failed to satisfy the conditions precedent of coverage by failing to give Auto-

Owners timely and proper notice of the occurrences, claims, and suit as required

by the conditions precedent of the CGL and Umbrella Policies.

      71.   The Auto-Owners policies do not cover some or all of the claims

made or damages related to the events alleged in the Underlying Complaint to

the extent the damages are related to property damage to G&D’s work, as

excluded within the CGL and Umbrella Policies.

      72.   The CGL Policies do not cover any of the claims made or damages

related to the events alleged in the Underlying Complaint because all of the

claims arise out of G&D’s work applying EIFS, which is excluded by the CGL

policies’ Exterior Finishing System Exclusion.

      73.   The Auto-Owners Policies do not cover any of the claims made or

damages related to the events alleged in the Underlying Complaint because the




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liability arises out of the assumption of liability in a contract and breach of

contract, which are excluded by the CGL and Umbrella Policies.

      74.    Any coverage which is available under the CGL Policies is limited

by the Fungi and Bacteria sub-limits endorsements in the CGL Polices and

excluded by the Fungi or Bacteria exclusion in the Umbrella Policy.

      75.    To the extent Auto-Owners determines that its obligations (if any)

are limited in any way due to the contents of the alleged written agreement

between G&D and any other person or entity, Auto-Owners reserves its rights to

limit or deny coverage and amend this Complaint accordingly.

      76.    Auto-Owners relies upon and reserves its rights to rely upon other

provisions of the CGL or Umbrella Policies or legal principles discovered during

this action that also may limit or exclude coverage.

      WHEREFORE, Plaintiff, Auto-Owners Insurance Company, prays:

      (a)    That each and every Defendant be required to respond to the

             allegations set forth in this Complaint for Declaratory Judgment;

      (b)    That this Court declare that Auto-Owners has: (i) no duty to cover,

             indemnify, or defend G&D for the Underlying Lawsuit; and (ii) no

             duty to defend or indemnify Metcon for the NP301 Lawsuit, or (iii)




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            no duty to indemnify any judgments or awards made against G&D

            or Metcon in any civil action; and

      (d)   For such other relief as this Court deems just and proper.

                   CERTIFICATE OF COMPLIANCE

      This is to certify that the foregoing Complaint for Declaratory Judgment

has been prepared in 14 point size Times New Roman font, in accordance with

L.R. 5.1

                                     Respectfully submitted,

                                      Bovis, Kyle, Burch & Medlin, LLC

  200 Ashford Center North            /s/ Kim M. Jackson
  Suite 500                           Ga. State Bar No. 387420
  Atlanta, Georgia 30338-2668
  Tel: (770) 391-9100                 Counsel for Plaintiff Auto-Owners Insurance
  Fax: (770) 668-0878                 Company
  kjackson@boviskyle.com




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